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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District of South Carolina



                     Eric Alan Sanders,
                          Plaintiff
                             v.                                            Civil Action No.      0:18-02601-JMC

       South Carolina Workers’ Compensation
     Commission; Mike Campbell; Scott Beck;
     Barbara Cheesboro; Susan Barden; Eugenia
      Hollmon; Valerie Deller; Shawn Debruhl;
                  Gary M. Cannon,
                     Defendants

                                                 JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                    recover from the defendant (name)              the amount of             dollars ($    ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of       %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                             .
O other: the Plaintiff take nothing of the Defendants and this action is dismissed with prejudice for lack of
prosecution.


This action was (check one):
 tried by a jury with Judge                           presiding, and the jury has rendered a verdict.

 tried by Judge                         without a jury and the above decision was reached.
O decided by the Honorable J. Michelle Childs, United States District Judge presiding. The issues having been
reviewed by the Honorable Paige J. Gossett, United States Magistrate Judge, who recommended in her Report and
Recommendation that this case be dismissed.


                                                                          CLERK OF COURT
Date: September 24, 2020
                                                                                              s/Angie Snipes
                                                                                    Signature of Clerk or Deputy Clerk
